          Case 1:21-cr-00444-JEB Document 3 Filed 06/10/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :       Case No:
                                             :
               v.                            :       VIOLATIONS:
                                             :
                                             :       18 U.S.C. § 111(a)
BRIAN CHRISTOPHER MOCK,                      :       (Assaulting, Resisting, or Impeding
                                             :       Certain Officers)
                                             :
                                             :       18 U.S.C. § 1752(a)(1)
               Defendant.                    :       (Entering and Remaining in a Restricted
                                             :       Building or Grounds)
                                             :
                                             :       18 U.S.C. § 1752(a)(2)
                                             :       (Disorderly and Disruptive Conduct in a
                                             :       Restricted Building or Grounds)
                                             :
                                             :       18 U.S.C. § 231(a)(3)
                                             :       (Civil Disorder)
                                             :
                                             :       40 U.S.C. § 5104(e)(2)(F)
                                             :       (Acts of Physical Violence in the Capitol
                                             :       Buildings or Grounds)
                                             :
                                             :
                                             :
                                             :
                                             :


     MOTION TO SEAL AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves for an order to place and maintain under seal, until the Arrest

Warrant is executed, the Affidavit in Support of Criminal Complaint, Criminal Complaint, and

Arrest Warrant in the above-captioned matter, this Motion and Supporting Memorandum, the

proposed Order attached to this Motion, and any Order granting this motion. In support thereof,

the government states as follows:



                                                 1
            Case 1:21-cr-00444-JEB Document 3 Filed 06/10/21 Page 2 of 3




       1.      The United States is investigating allegations that Brian Christopher Mock

willfully and knowingly entered the United States Capitol on January 6, 2021 without legal

authority, and participated in violent and disorderly conduct in violation of 18 U.S.C.

§   111(a); 18 U.S.C. §§ 1752(a)(1) and (2); 18 U.S.C. § 231(a)(3); and 40 U.S.C.

§   5104(e)(2)(F).

       2.      The Affidavit in Support of Criminal Complaint references evidence gathered in

the course of the investigation. The evidence includes statements identifying the defendant by a

special agent of the Federal Bureau of Investigation. The public disclosure of the Government’s

evidence could compromise the integrity of the investigation, including the ability of the United

States to locate and arrest the defendant, and could needlessly expose the statements of the

identifying agent before the defendant has been apprehended. The Government also anticipates

imminently obtaining one or more search warrants for items believed to be in the defendant’s

possession. Premature disclosure of the charging documents may risk hampering those efforts

or lead to the destruction of evidence. Thus, a sealing order is necessary to avoid hindering the

ongoing investigation in this matter.

       2.      As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999),

there is a presumption of access to Court proceedings. But, this can be overridden if “‘(1)

closure serves a compelling interest; (2) there is a substantial probability that, in the absence of

closure, this compelling interest would be harmed; and (3) there are no alternatives to closure

that would adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co.

v. United States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

       3.      In this matter, the United States has a compelling interest in preserving the

integrity of its investigation and arresting the defendant. A limited sealing order ensuring that



                                                  2
            Case 1:21-cr-00444-JEB Document 3 Filed 06/10/21 Page 3 of 3




filings related to the Criminal Complaint and Arrest Warrant are not accessible from the Court’s

public files is narrowly tailored to serve a compelling interest.

       4.      Furthermore, the United States respectfully submits that complying with the

normal notice requirements of Washington Post would defeat the purpose of the motion to seal.

Persons who know the criminal justice system also know that docketing a motion to seal an

Affidavit in Support of Criminal Complaint and Arrest Warrant, or a resulting sealing order,

means that the defendant is charged with a crime, and the Government intends to arrest him.

Thus, if this Motion or a sealing order were to become public, it would be the same as making

public the Complaint and Arrest Warrant.

       WHEREFORE, the United States respectfully requests that this Court issue an Order

directing that the Clerk of the Court place and maintain under seal, until execution of the Arrest

Warrant, the Affidavit in Support of Criminal Complaint, this Motion and Supporting

Memorandum, the proposed Order attached to this Motion, and any Order granting this motion.

                                               Respectfully submitted,

                                               CHANNING D. PHILLIPS
                                               ACTING UNITED STATES ATTORNEY
                                               D.C. Bar No. 415793


                                       By:     /s/Amanda Jawad
                                               AMANDA JAWAD
                                               NY Bar No. 5141155
                                               Assistant United States Attorney
                                               District of Columbia Detailee
                                               211 W. Fort Street, Suite 2001
                                               Detroit, MI 48226
                                               Telephone: (313) 226-9116
                                               Amanda.Jawad@usdoj.gov




                                                  3
